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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

                      Plaintiff,
                                                        Case No: 11-20551
  vs.

  JOHN GERALT,

                  Defendant
  __________________________________/


         ORDER GRANTING APPLICATION TO PROCEED WITH AN APPEAL
                WITHOUT PREPAYMENT OF FEES AND COSTS

        The Defendant has filed an "Application to Proceed with an Appeal without

  Prepayment of Fees and Costs” on February 1, 2016 in the above matter. The Court has

  considered the application and believes that it should be granted, therefore,

        IT IS ORDERED that the Defendant’s Application to Proceed with an Appeal without

  Prepayment of Fees and Costs is GRANTED.



                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE

  Dated: February 9, 2016


  I hereby certify that a copy of the foregoing document was mailed to counsel of record on
  this date, February 9, 2016, by electronic and/or ordinary mail.


                                            S/Lisa Wagner
                                           Case Manager and Deputy Clerk
                                           (313) 234-5522
